                                          Case 4:14-cv-04932-YGR Document 32 Filed 03/05/15 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        CENTER FOR FOOD SAFETY, et al.,
                                   7                                                       Case No. 14-cv-04932-YGR
                                                       Plaintiffs,
                                   8
                                                v.
                                   9
                                        MARGARET A. HAMBURG, Commissioner,
                                  10    United States Food and Drug Administration,
                                        et al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California




                                        HUMANE SOCIETY OF THE UNITED STATES,
 United States District Court




                                                                                           Case No. 14-cv-04933-YGR
                                  13    et al.,

                                  14                   Plaintiffs,

                                  15            v.
                                                                                           ORDER CONSOLIDATING CASES
                                  16    MARGARET A. HAMBURG, Commissioner,
                                        United States Food and Drug Administration,
                                  17    et al.,

                                  18                   Defendant.

                                  19          The Court hereby ORDERS that the above-captioned cases are CONSOLIDATED, with Case
                                  20   No. 14-cv-4932 as the lead case. All future filings in these matters shall be on the docket for the
                                  21   lead case.
                                  22          IT IS SO ORDERED.
                                  23   Dated: March 5, 2015
                                  24                                                   ______________________________________
                                                                                             YVONNE GONZALEZ ROGERS
                                  25                                                    UNITED STATES DISTRICT COURT JUDGE
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